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   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10   BRIAN HOROWITZ and CREATIVE              Case No. 8:17−cv−00432 AG (JCGx)
       OUTDOOR DISTRIBUTORS USA,
  11
       INC.,                                    Hon. Andrew J. Guilford
  12
                   Plaintiffs,                  NOTICE OF MOTION AND
  13
                                                MOTION OF BLAKELEY LLP TO
  14   v.                                       WITHDRAW AS PLAINTIFFS’
                                                COUNSEL; MEMORANDUM OF
  15
       YISHUN CHEN and ZHAOSHENG                POINTS AND AUTHORITIES IN
  16   CHEN,                                    SUPPORT
  17
                   Defendants.                  Hearing Time: April 2, 2018 at 10:00 a.m.
  18                                            Place: Courtroom 10D
  19

  20   ZHAOSHENG CHEN and YISHUN                Discovery Cut-off: July 5, 2018
  21
       CHEN,                                    Trial Date: October 16, 2018

  22               Counterclaim-Plaintiffs,
  23
       v.
  24

  25
       BRIAN HOROWITZ and CREATIVE
       OUTDOOR DISTRIBUTORS USC,
  26   INC., and DOES 1-20, inclusive,
  27
                   Counterclaim-Defendants.
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                                        MOT. OF BLAKELEY LLP TO BE RELIEVED AS PLAINTIFFS’ COUNSEL
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   1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2         PLEASE TAKE NOTICE that on April 2, 2018 at 10:00 a.m., or as soon
   3   thereafter as counsel may be heard, in Courtroom 10D of the United States District
   4   Court for the Central District of California at 411 West 4th Street, Santa Ana, CA
   5   92701, before the Honorable Andrew J. Guilford, Blakeley LLP (“Blakeley”), counsel
   6   for plaintiffs Brian Horowitz and Creative Outdoor Distributors USA, Inc. (the
   7   “Plaintiffs”) will move for an order granting leave to withdraw as counsel under Rule
   8   83-2.3.2 of the Local Rules for the Central District of California and Rule 3-700(C) of
   9   the California Rules of Professional Conduct on the grounds that the Plaintiffs have:
  10   (1) failed to pay legal fees in accordance with their retainer agreement; and (2)
  11   knowingly and freely assented to termination of the employment.
  12         Blakeley’s motion is based on this Notice of Motion and Motion, as well as the
  13   accompanying Memorandum of Points and Authorities, the accompanying
  14   Declaration of David Mannion, the pleadings and papers on file in this action, and
  15   such other further argument and evidence as the Court may consider.
  16         This motion is made following the conference of counsel pursuant to L.R. 7-3
  17   which took place on March 1, 2018.
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  19                                          Respectfully submitted,
  20   DATED: March 5, 2018                   BLAKELEY LLP
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  22
                                           By: /s/ David Mannion                 .
                                                   David Mannion
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                                              Attorneys for Plaintiffs Brian Horowitz
                                              and Creative Outdoor Distributors USA, Inc.
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                                          MOT. OF BLAKELEY LLP TO BE RELIEVED AS PLAINTIFFS’ COUNSEL
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   1                 MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.    INTRODUCTION
   3         The law firm of Blakeley LLP (“Blakeley”) respectfully requests leave to
   4   withdraw as counsel for plaintiffs Brian Horowitz and Creative Outdoor Distributors
   5   USA, Inc. (the “Plaintiffs”). The Plaintiffs owe Blakeley a substantial sum for legal
   6   services and have failed to make payments in accordance with Blakeley’s retainer
   7   agreement. In addition, the Plaintiffs have consented to Blakeley’s withdrawal and
   8   retained new counsel. Mannion Dec., ¶ 4. Blakeley’s withdrawal will not cause any
   9   prejudice or delay because discovery is open until July 5, 2018, and trial is not
  10   scheduled to begin until October 16, 2018. See Dkt. No. 52 (Scheduling Order).
  11   II.   ARGUMENT
  12         “The Court may consider the following factors in ruling on a motion for
  13   permissive withdrawal: (1) the reasons why withdrawal is sought; (2) the prejudice
  14   withdrawal may cause to other litigants; (3) the harm withdrawal might cause to the
  15   administration of justice; and (4) the degree to which withdrawal will delay the
  16   resolution of the case.” Marcus v. ABC Signature Studios, Inc., 2017 WL 5635020, at
  17   *2 (C.D. Cal. June 7, 2017).
  18         1.     The Plaintiffs’ failure to pay Blakeley’s fees is good cause for
  19                withdrawal.
  20         “Rule 3–700(C) of the California Rules of Professional Conduct applies to a
  21   request by [an attorney] to withdraw as counsel in a pending action.” Lehman
  22   Brothers Holdings, Inc. v. PMC Bancorp, 2017 WL 4071384, at *1 (C.D. Cal. July
  23   26, 2017); Halicki v. Carroll Shelby Intl., 2009 WL 10673175, at *1 (C.D. Cal. Aug.
  24   13, 2009) (“California Rule of Professional Conduct 3–700 outlines conditions under
  25   which counsel may withdraw from representation of a client.”).
  26         “California Rule of Professional Conduct 3–700(C)(1)(f) . . . allows counsel to
  27   request permission to withdraw when a client ‘breaches an agreement or obligation to
  28   [counsel] as to expenses or fees.’” Halicki, 2009 WL 10673175, at *1. “While the
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                                          MOT. OF BLAKELEY LLP TO BE RELIEVED AS PLAINTIFFS’ COUNSEL
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   1   ‘[f]ailure of the client to pay agreed compensation is not necessarily sufficient to
   2   establish good cause,’ C.D. Cal. L.R. 83–2.3.2, ‘[c]ourts have also held that the
   3   failure to pay attorney’s fees may be grounds for withdrawal[.]’” Wimbeldon Fund
   4   SPC (Class TT) v. Graybox, LLC, 2017 WL 2841325, at *2 (C.D. Cal. June 30, 2017)
   5   (collecting cases); see also Evolv Health, LLC v. Cosway USA, Inc., 2017 WL
   6   1534184, at *3 (C.D. Cal. Apr. 26, 2017) (“Failure to pay attorneys’ fees or costs
   7   constitutes good cause for withdrawal from a representation.”)
   8         On November 29, 2017, Blakeley notified the Plaintiffs of their obligation
   9   under the retainer agreement to pay a deposit to cover trial fees by January 15, 2018.
  10   Blakeley later extended that date to February 26, 2018. On January 19, 2018, the
  11   Plaintiffs confirmed this deposit would be paid but it was not. Apart from failing to
  12   pay the deposit, the Plaintiffs owe Blakeley a substantial amount of unpaid fees which
  13   they have failed to pay in accordance with the terms of Blakeley’s retainer agreement
  14   despite repeated requests. Mannion Dec., ¶ 2.
  15         The retainer agreement expressly permits Blakeley to withdraw as counsel if its
  16   fees are not paid. Mannion Dec., ¶ 3. To maintain the Plaintiffs’ privacy, Blakeley
  17   has not attached the retainer agreement to this Motion. However, if the Plaintiffs
  18   dispute the provisions of the agreement, including the term permitting withdrawal for
  19   nonpayment of fees, Blakeley will submit it to the Court.
  20         2.     The Plaintiffs have consented to Blakeley’s withdrawal and retained
  21                new counsel.
  22         Rule 3–700(C)(5) of the California Rules of Professional Conduct permits
  23   withdrawal where “[t]he client knowingly and freely assents to termination of the
  24   employment[.]” See also Alabado v. French Concepts Inc., 2015 WL 12656284, at
  25   *1–2 (C.D. Cal. Oct. 22, 2015) (permitting withdrawal where clients consented and
  26   failed to pay attorneys’ fees); Aaron & Andrew, Inc. v. Sears Holdings Mgt. Corp.,
  27   2015 WL 13022804, at *2 (C.D. Cal. Jan. 15, 2015) (same); Austin Inv. Fund, LLC v.
  28   U.S., 2011 WL 4947550, at *1–2 (C.D. Cal. Oct. 17, 2011) (permitting withdrawal
                                                   2
                                          MOT. OF BLAKELEY LLP TO BE RELIEVED AS PLAINTIFFS’ COUNSEL
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   1   for, among other reasons, client consent.); Guardian Life Ins. Co. of Am., Inc. v.
   2   Andraos, 2009 WL 10675676, at *1 (C.D. Cal. Mar. 26, 2009) (same).
   3         The Plaintiffs have consented to Blakeley’s withdrawal and retained new
   4   counsel to represent them, who will be filing a notice of appearance later this week.
   5   Mannion Dec., ¶ 4.
   6         3.     Blakeley’s withdrawal will not cause prejudice or delay.
   7         Motions to withdraw are routinely granted where withdrawal would not cause
   8   undue delay or prejudice. See e.g. Liang v. Cal-Bay Int'l, Inc., 2007 WL 3144099, at
   9   *1 (S.D. Cal. Oct. 24, 2007) (granting motion to withdraw where withdrawal would
  10   not cause injustice or delay resolution of the case); Bradford v. City of Modesto, 2008
  11   WL 2682734, at *2 (E.D. Cal. July 3, 2008) (granting motion to withdraw where
  12   there would be “minimal prejudice.”)
  13         Here, discovery is open until July 5, 2018, and trial is scheduled for October
  14   16, 2018, which is over seven months away. See Dkt. No. 52 (Scheduling Order). As
  15   such, Blakeley’s withdrawal will not prejudice any party. Cf. Guardian Life Ins. Co.
  16   of Am., Inc. v. Andraos, 2009 WL 10675676, at *1 (C.D. Cal. Mar. 26, 2009) (holding
  17   that “the proposed substitution of Romano and withdrawal of current defense counsel
  18   will not prejudice the parties” because trial was almost six months away.)
  19         Blakeley’s withdrawal also will not prejudice the Plaintiffs because they have
  20   retained new counsel. Cf. Austin Inv. Fund, 2011 WL 4947550, at *2 (“Ms.
  21   Abrahamson has already retained substitute counsel . . . Thus, granting Ord’s Motion
  22   to Withdraw will not cause any prejudice to Ms. Abrahamson.”); Aaron & Andrew,
  23   Inc., 2015 WL 13022804, at *2 (“It does not appear to the Court that withdrawal will
  24   be overly prejudicial to Plaintiffs as they have already obtained discovery from NPI
  25   and Mr. Loh is taking over the representation of Sears and Kmart.”).
  26         4.     Blakeley has fulfilled its obligations concerning withdrawal.
  27         As required by Local Rule 83-2.3.2, this motion has been made on reasonable
  28   notice to the Plaintiffs and all other parties (i.e. twenty-eight days). In addition,
                                                    3
                                           MOT. OF BLAKELEY LLP TO BE RELIEVED AS PLAINTIFFS’ COUNSEL
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   1   Blakeley has informed Creative Outdoor Distributors USA, Inc. (“Creative”) of the
   2   consequences of its inability to appear pro se under L.R. 83-2.3.4. Specifically, on
   3   February 27, 2018, Blakeley notified the Plaintiffs that unless new counsel appeared,
   4   Blakeley would be forced to file this motion and if Creative did not retain new
   5   counsel, a default judgment could be entered dismissing its claims and granting the
   6   defendants a default judgment on their counterclaims. Mannion Dec., ¶ 5.
   7          Moreover, since November 29, 2017 onwards, Blakeley repeatedly notified the
   8   Plaintiffs, orally and in writing, that if they did not comply with their payment
   9   obligations under the retainer agreement, Blakeley would have to withdraw. Mannion
  10   Dec., ¶ 6. As such, the Plaintiffs had ample notice that this motion would be filed.
  11          Until Blakely is permitted to withdraw or new counsel appears, Blakeley will
  12   continue to discharge its obligations to the Plaintiffs and they will have ample time to
  13   retain new counsel before this motion is decided. Blakeley has provided all client
  14   files to the Plaintiffs and made the Plaintiffs’ property available for collection.
  15   Mannion Dec., ¶ 7.
  16   III.   CONCLUSION
  17          For the foregoing reasons, Blakeley respectfully requests that the Court permit
  18   it to withdraw from its representation of Plaintiffs.
  19                                           Respectfully submitted,
  20   DATED: March 5, 2018                    BLAKELEY LLP
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  22
                                            By: /s/ David Mannion                 .
                                                    David Mannion
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                                               Attorneys for Plaintiffs Brian Horowitz
                                               and Creative Outdoor Distributors USA, Inc.
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